Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 1 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 2 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 3 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 4 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 5 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 6 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 7 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 8 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                         Main Document    Page 9 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                        Main Document    Page 10 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                        Main Document    Page 11 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                        Main Document    Page 12 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                        Main Document    Page 13 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                        Main Document    Page 14 of 15
Case 6:18-bk-18292-SY   Doc 20 Filed 10/15/18 Entered 10/15/18 16:23:58   Desc
                        Main Document    Page 15 of 15
